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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CR. No. 06-000198 SOM (05)
                               )
                 Plaintiff,    )
                               )           ORDER DENYING DEFENDANT KEVIN
           vs.                 )           BRUNN’S MOTION TO DISMISS
                               )           COUNTS 4 THROUGH 8 OF THE
 DOUGLAS GILMAN, SR.,(01)      )           SECOND SUPERSEDING INDICTMENT
 DOUGLAS GILMAN, JR.,(02)      )
 KEVIN BRUNN,         (05)     )
 MICHA TERRAGNA,      (06)     )
 WILLIAM GILMAN,      (08)     )
                               )
                 Defendants.   )
 _____________________________ )


      ORDER DENYING DEFENDANT KEVIN BRUNN’S MOTION TO DISMISS
       COUNTS 4 THROUGH 8 OF THE SECOND SUPERSEDING INDICTMENT

 I.         INTRODUCTION.

            Defendants Kevin Brunn and Micha Terragna are charged

 with one count of conspiracy to operate an illegal gambling

 business in violation of 18 U.S.C. § 1955 (Count 1), one count of

 operating an illegal gambling business in violation of 18 U.S.C.

 §§ 371 and 1955 (Count 2), one count of conspiracy to obstruct

 the enforcement of state criminal laws with the intent of

 facilitating an illegal gambling business (Count 3), one count of

 conspiracy to commit extortion in violation of 18 U.S.C. § 1951

 (Count 4), and four counts of extortion in violation of 18 U.S.C.

 § 1951 (Counts 5-8).      See Second Superseding Indictment (April 9,

 2008) (“Indictment”).

            Brunn now moves to dismiss Counts 4 through 8 of the

 Indictment, arguing that the Indictment contains “erroneous and
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 material” in the form of an inaccurate statement presented to the

 grand jury and that Counts 4 through 8 are legally insufficient.

 See Defendant Kevin Brunn’s Motion to Dismiss Counts 4 Through 8

 of the Second Superseding Indictment (July 15, 2008) (“Motion”).

 Terragna joins in this Motion.          Defendant Micha Terragna’s

 Joinder in Defendant Kevin Brunn’s Motion to Dismiss (July 18,

 2008).

            The court concludes that the alleged inaccuracy does

 not warrant dismissal of any count and that Counts 4 through 8

 are sufficiently pled.       Accordingly, the motion is denied.

 II.        LEGAL STANDARD.

            Rule 12(b) of the Federal Rules of Criminal Procedure

 allows the consideration at the pretrial stage of any defense

 that “is capable of determination without the trial of the

 general issue."     A motion to dismiss is generally “capable of

 determination” before trial if it involves questions of law

 rather than fact.       United States v. Nukida, 8 F.3d 665, 669,

 appeal after remand, 87 F.3d 1324 (9th Cir. 1993).                 “In

 considering a motion to dismiss, a court is limited to the face

 of the indictment and must accept the facts alleged in that

 indictment as true.”       United States v. Ruiz-Castro, 125 F. Supp.

 2d 411, 413 (D. Haw. 2000).

            An indictment is only required to “be a plain, concise

 and definite written statement of the essential facts


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 constituting the offense charged.”              Fed. R. Crim. P. 7(c)(1).         An

 indictment will withstand a motion to dismiss if it contains the

 elements of the charged offense in sufficient detail (1) to

 enable the defendant to prepare his or her defense; (2) to ensure

 the defendant that he or she is being prosecuted on the basis of

 the facts presented to the grand jury; (3) to enable the

 defendant to plead double jeopardy; and (4) to inform the court

 of the alleged facts so that it can determine the sufficiency of

 the charge.    United States v. Rosi, 27 F.3d 409, 414 (9th Cir.

 1994); United States v. Bernhardt, 840 F.2d 1441, 1445 (9th Cir.

 1988).   Accord United States v. Woodruff, 50 F.3d 673, 676 (9th

 Cir. 1995) (stating that, generally, an indictment is sufficient

 if it sets forth the elements of the charged offense so as to

 ensure the right of the defendant not to be placed in double

 jeopardy and to be informed of the offense charged); United

 States v. Buckley, 689 F.2d 893, 896 n.3 (9th Cir. 1982) (same).

            A defendant may not properly challenge an indictment,

 sufficient on its face, on the ground that the allegations are

 not supported by adequate evidence.              Therefore, a motion to

 dismiss indictment may not be used as a device for summary trial

 of the evidence.        United States v. Jensen, 93 F.3d 667, 669 (9th

 Cir. 1996).




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 III.       BACKGROUND FACTS.

            The Indictment charges that Brunn and Terragna, along

 with three co-defendants, operated an illegal gambling business

 involving cockfighting, craps, and card games in Wailua, Hawaii.

 Indictment at 5.

            The Indictment states that Brunn was a Honolulu Police

 Department officer “responsible for enforcing and upholding the

 laws of the State of Hawaii,” and that Terragna was living with

 Brunn.   Id. at 6-7.

            Counts 4 through 8 of the Indictment separately charge

 Terragna and Brunn with Hobbs Act violations.                The gist of the

 Hobbs Act charges is that Brunn, aided             by Terragna, used his

 position as a police officer to get money from Charles Gilman.

 Gilman allegedly paid out of fear that Brunn would otherwise turn

 Gilman in:

            On or about the dates set forth in tabular
            form below in the District of Hawaii,
            defendant KEVIN BRUNN, aided and abetted by
            defendant MICHA TERRAGNA, did knowingly and
            intentionally obstruct, delay and affect, in
            any degree, interstate commerce, by
            extortion, that is, KEVIN BRUNN, aided and
            abetted by MICHA TERRAGNA, obtained property
            from Charles Gilman, (a person who KEVIN
            BRUNN and MICHA TERRAGNA knew was engaged in
            criminal activity including the operation of
            the Wailua cockfights), with Charles Gilman’s
            consent: (a) induced by wrongful use of
            threatened force and fear; and (b) under
            color of official right, that is, in exchange
            for the nonperformance of official acts by
            KEVIN BRUNN.


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 Id. at 9.

             The Indictment alleges that, on or about November 18,

 2004, Brunn told Charles Gilman, “ . . . whatever you like give

 me . . . just rememba, as you sitting in OCCC [Oahu Community

 Correctional Center], you cannot do nothing, right?”                  Id. at 9-

 10.    In addition, the Indictment lists the monetary amounts

 Terragna allegedly received on four separate dates.

             The excerpt from the November 18, 2004, conversation

 was part of a discussion between Brunn and Jon Saguibo, in which

 Brunn was recounting to Saguibo an earlier conversation Brunn had

 had with Charles Gilman.       Exs. B and C (attached to Motion).              The

 excerpt appears to state Brunn’s reaction to Gilman’s complaint

 about having paid $42,000.       The conversation was recorded through

 a wiretap.    Brunn says that the Indictment misstates what he

 said, and that his actual statement was, “Oh, whatever, whatever

 you like imagine.       Just remember, as you’re sitting in O triple C

 you cannot do nothing, right?”          Ex. C (attached to Motion).

             Brunn moves to dismiss Counts 4 through 8 of the

 Indictment, arguing that the statement presented to the grand

 jury was “significantly different” from what he said.                  Motion at

 5.    Brunn also argues that the allegations in Counts 4 through 8

 are insufficient.       The court disagrees, and Brunn’s motion is

 denied.




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 IV.        ANALYSIS.

            A.    The Allegedly Inaccurate Statement Does Not
                  Warrant Dismissal of Counts 4 Through 8.

            Brunn argues that the November 2004 statement is the

 “basis for the allegations” involving the Hobbs Act violations,

 and that Counts 4 through 8 should be dismissed because the

 statement presented to the grand jury was materially different

 from what Brunn actually said.           In addition, Brunn argues that

 the Government misled the grand jury in providing an “erroneous

 transcription” of the telephone conversation, which prejudiced

 Brunn.   Motion at 5.       At the hearing for the present motion,

 Brunn conceded that he had no evidence of intentional Government

 misconduct.

            “Federal courts draw their power to dismiss indictments

 from two sources”--the Constitution and the court’s own

 supervisory powers.       United States v. Isgro, 974 F.2d 1091, 1094

 (9th Cir. 1992).        Thus, a court can dismiss an indictment if it

 “perceives constitutional error that interferes with the grand

 jury’s independence and the integrity of the grand jury

 proceeding.”    Alternatively, based on a court’s supervisory

 powers, a court can dismiss an indictment based on Government

 misconduct, but only after a finding of actual prejudice to the

 defendant.    Id.; see also United States v. Woodley, 9 F.3d 774,

 777 (9th Cir. 1993) (“A court may use its supervisory powers to

 dismiss an indictment for three reasons: (1) to remedy the

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 violation of recognized rights, (2) to deter illegal conduct and

 (3) to preserve judicial integrity . . . .”) (internal quotations

 and alterations omitted).

             “The Court’s power to dismiss an indictment on the

 ground of prosecutorial misconduct is . . . rarely invoked.”

 United States v. Samango, 607 F.2d 877, 881 (9th Cir. 1979).

 “Dismissing an indictment is so intrusive on a prosecutor’s

 charging authority that it is justified only when the

 government’s conduct substantially prejudiced the defendant and

 the government flagrantly disregarded the limits of professional

 conduct.”    Woodley, 9 F.3d at 777.

             Brunn fails to demonstrate how an inaccuracy in a few

 words of a statement presented to the grand jury “was a

 usurpation of the grand jury’s role to determine whether the

 defendants should be indicted.”        Isgro, 974 F.2d at 1095-96.            In

 Isgro, the Ninth Circuit concluded that there was “no abrogation

 of constitutional rights sufficient to support the dismissal of

 an indictment” when the prosecutor “extracted testimony” from a

 witness during grand jury proceedings that was “diametrically

 opposed” to prior trial testimony from that witness.                 Id. at

 1093-94.    Cf. United States v. Haynes, 216 F.3d 789, 798 (9th

 Cir. 2000) (noting that prosecutors “have no obligation to

 disclose substantial exculpatory evidence” to a grand jury).                  The

 court in Isgro concluded that the “grand jury was [not] deprived


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 of its ability to make an informed or independent decision.”

 Isgro, 974 F.2d at 1096; see also United States v. Sears, Roebuck

 & Co., 719 F.2d 1386, 1394 (9th Cir. 1983), cert. denied, 465

 U.S. 1079 (1984).

              The alleged constitutional error in the present case

 raises significantly less concern than what was raised in Isgro.

 Even if Brunn stated “whatever you like imagine,” rather than

 “whatever you like give me,” the effect of the statement was the

 same.   Brunn, a police officer, made the statement to Charles

 Gilman, who was part of an illegal gambling business.                 Taken in

 context with the remainder of the statement, which expressed a

 threat that Gilman could be sitting in a correctional facility,

 Brunn’s words suggested that Gilman should provide Brunn with

 something in exchange for Brunn’s keeping him out of prison.                  The

 inaccuracy in the transcript cannot be said to have affected “the

 fundamental fairness” of the grand jury proceeding.                 Isgro, 974

 F.2d at 1094.

            Nothing in the record before the court suggests that

 the Government intentionally misled the grand jury.                 More

 importantly, Brunn has not shown how he was prejudiced by the

 allegedly inaccurate statement.        Woodley, 9 F.3d at 777.

 Accordingly, the court denies Brunn’s motion to dismiss Counts 4

 through 8 of the Indictment to the extent the motion is based on

 an inaccurate account of what he said.


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            B.     Request for Grand Jury Transcripts.

            Brunn alternatively requests the grand jury

 transcripts.    See Motion at 5 n.1.          This request is denied.

 Brunn has not alleged any ground for dismissing Counts 4 through

 8 of the Indictment based on information contained in the grand

 jury transcripts.

            Federal Rule of Criminal Procedure 6(e)(3)(E)(ii)

 permits a court to order disclosure of matters occurring before a

 grand jury “at the request of a defendant who shows that a ground

 may exist to dismiss the indictment because of a matter that

 occurred before the grand jury.”           The Ninth Circuit has cautioned

 district courts against allowing “across the board fishing

 expeditions.”    United States v. Kim, 577 F.2d 473, 478 (9th Cir.

 1978).   “A trial judge should order disclosure of grand jury

 transcripts only when the party seeking them has demonstrated

 that a particularized need exists . . . which outweighs the

 policy of secrecy.”     United States v. Walczak, 783 F.2d 852, 857

 (9th Cir. 1986) (citation omitted).            Particularized need must be

 based on more than mere speculation.             See id.     The burden is on

 the defendant to show that disclosure of grand jury transcripts

 is appropriate.     See Pittsburgh Plate Glass Co. v. United States,

 360 U.S. 395, 400 (1959).

            Brunn urges the court to grant discovery of the grand

 jury transcripts for the same reason he argues Counts 4 through 8


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 of the Indictment should be dismissed--the use of the “erroneous

 transcription of the subject telephone conversation” before the

 grand jury.    See Motion at 5.        However, the court has already

 determined that the alleged inaccuracy in the transcript does not

 warrant dismissal of Counts 4 through 8.            Under Rule

 6(e)(3)(E)(ii) of the Federal Rules of Evidence, to be entitled

 to grand jury transcripts, a defendant must show “that a ground

 may exist to dismiss the indictment.”           Because Brunn has failed

 to show that a ground exists to dismiss Counts 4 through 8

 Indictment, he is not entitled to the grand jury transcripts.

 See United States v. Murray, 751 F.2d 1528, 1533 (9th Cir. 1985)

 (“The alleged instances of prosecutorial and grand jury

 misconduct during the first grand jury proceedings do not amount

 to the particularized need required to outweigh the secrecy of

 the grand jury proceedings.       The claimed misconduct would not

 have compelled the dismissal of the first superseding

 indictment.”) (internal citations omitted).

             While obtaining grand jury transcripts might allow

 Brunn to raise arguments beyond those raised in his motion, the

 Ninth Circuit requires more than mere speculation to justify

 disclosure of grand jury transcripts.           See Walczak, 783 F.2d at

 857 (a defendant who did not allege specific facts supporting his

 motion was only speculating and thus was not entitled to grand

 jury transcripts).      Brunn has already conceded that there is no


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 basis for alleging intentional Government misconduct, and he has

 not alleged specific facts supporting any other ground to warrant

 dismissal of the Indictment.       Brunn’s request for grand jury

 transcripts is denied.

             C.    Counts 4 Through 8 Are Sufficient.

             Brunn contends that Counts 4 through 8 are insufficient

 because (1) no facts are set forth as to whether Brunn obtained

 property from another or as to how he was aided or abetted by

 Terragna; (2) there is no discussion explaining the Indictment’s

 reference to Brunn’s “nonperformance of official acts”; and (3)

 there is “no factual basis” showing how interstate commerce was

 affected.    Motion at 6-7.     Brunn is unpersuasive on all three

 points.

             An indictment must “set forth the elements of the

 offense charged and contain a statement of the facts and

 circumstances that will inform the accused of the specific

 offense with which he is charged.”           United States v. Cecil, 608

 F.2d 1294, 1296 (9th Cir. 1979).            Thus, an indictment that tracks

 the offense in the words of the statute is sufficient “so long as

 the words unambiguously set forth all elements necessary to

 constitute the offense.”       United States v. Givens, 767 F.2d 574,

 584 (9th Cir. 1985), cert. denied, 474 U.S. 953; see also United

 States v. Blinder, 10 F.3d 1468, 1476 (9th Cir. 1993).




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             In United States v. Miller, 771 F.2d 1219 (9th Cir.

 1985), the Ninth Circuit addressed a challenge to the factual

 sufficiency of an indictment.          The indictment in Miller had

 charged that four corporations and eight individuals conspired

 with others to fix gasoline prices in violation of the Sherman

 Act, 15 U.S.C. § 1.      Id. at 1224.        The defendants argued that the

 indictment contained “insufficient factual allegations” because

 it alleged “few facts other than the situs of the conspiracy and

 the names of the co-conspirators,” did not “give notice of any

 overt acts,” and “failed to place the conspiracies within a

 specific time frame.”      Id. at 1226.       The Ninth Circuit disagreed,

 concluding that the indictment “contain[ed] sufficient factual

 specificity.”

             The Ninth Circuit noted that the indictment charged the

 time period of the conspiracy, listed the actions the defendants

 took to carry out the conspiracy (discussions by telephone or at

 meetings), and charged that the defendants “attempted to enforce

 adherence to their price-fixing scheme by informing other

 competitors of the conspirators’ agreements.”             Id. at 1227.     In

 affirming the district court’s denial of the defendants’ motion

 to dismiss, the Ninth Circuit observed, “While the instant

 indictment is not a model of pleading, it does contain sufficient

 factual particularity to afford [the defendants] adequate notice

 of the charges against them.”          Id.


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             In contrast, the Ninth Circuit has concluded that an

 indictment was factually insufficient in Cecil.             The defendants

 in Cecil were charged with conspiracy to import and possess, with

 intent to distribute, marijuana.            The indictment tracked the

 language of the statutes and alleged that the conspiracies

 “occurred in Arizona, Mexico, and elsewhere” and listed the names

 of “some of the alleged co-conspirators.”            The Ninth Circuit

 concluded that the indictment was factually insufficient because

 it made only “two specific [factual] allegations” and failed “to

 state any other facts or circumstances pertaining to the

 conspiracy or any overt acts done in furtherance thereof.”

 Cecil, 608 F.2d at 1296-97.

             The Indictment at issue in the present case is more

 analogous to the indictment in Miller than to the indictment in

 Cecil.    There are certainly more factual allegations supporting

 the Hobbs Act violations than the two factual allegations that

 were contained in the Cecil indictment.            Specifically, the

 Indictment provides the names of the alleged operators of the

 illegal gambling business, the location of the business, the time

 period, and the overt acts that were carried out in furtherance

 of the extortion conspiracy, which include Brunn’s alleged

 statement to Gilman and the monetary payments that Terragna

 allegedly received.




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             Brunn argues that Counts 4 through 8 are insufficient

 because the Indictment does not allege that Brunn obtained

 property or how Brunn was aided or abetted by Terragna.                The

 Indictment sets forth that Brunn, aided and abetted by Terragna,

 obtained property from Gilman under “wrongful use of threatened

 force” and under “color of official right” and lists the monetary

 amounts that Terragna allegedly received on four separate dates.

 Indictment at 9-10.       For the purpose of informing Brunn and

 Terragna of the offenses that they are charged with, Counts 4

 through 8 are sufficient.

             According to the Ninth Circuit, “[t]he allegations of

 the indictment are presumed to be true,” and the “Government need

 not allege its theory of the case or supporting evidence, but

 only the ‘essential facts necessary to apprise a defendant of the

 crime charged.’”        Buckley, 689 F.2d at 897 (quoting United States

 v. Markee, 425 F.2d 1043, 1047-48 (9th Cir. 1970)).               Thus, the

 Indictment need not explain in detail how Brunn was aided and

 abetted by Terragna, or how Brunn received property through

 Terragna’s alleged receipt of monetary payments.

             Brunn’s second argument is similarly unconvincing.

 Although the Indictment does not provide the factual basis for

 the “nonperformance of official acts,” the Ninth Circuit has

 concluded that an indictment that tracks the offense in the words

 of the statute is generally sufficient and that it is not


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 necessary to explain the factual evidence that will be proved at

 trial.    See Blinder, 10 F.3d at 1476; Givens, 767 F.2d at 584.

 In addition, the Ninth Circuit has held that an indictment should

 be read as a whole and can include implied facts.              See, e.g.,

 Buckley, 689 F.2d at 899; United States v. Inryco, Inc., 642 F.2d

 290, 294 (9th Cir. 1981); United States v. Anderson, 532 F.2d

 1218, 1222 (9th Cir. 1976), cert. denied, 429 U.S. 839 (1976).

             The defendants in Buckley were charged with mail fraud.

 The district court dismissed the indictment based on an absence

 of facts supporting the allegation that the defendants had used

 the mail to further a fraudulent scheme.            The Ninth Circuit

 reversed, emphasizing that an indictment should be: “(1) read as

 a whole; (2) read to include facts which are necessarily implied;

 and (3) construed according to common sense.”             Buckley, 689 F.2d

 at 899.    The court concluded, “Because the indictment implicitly

 alleged the falsity [of the mailing], it was clear enough to give

 the defendants notice of the crime charged and to allow them to

 plead double jeopardy.”      Id. at 898.

             The Government need not provide the factual basis for

 the “nonperformance of official acts” in the Indictment.               Even if

 it were necessary, the factual basis could be inferred from the

 allegations in the Indictment.         See Indictment at 9-10.        Brunn’s

 position as a Honolulu Police Department officer “responsible for

 enforcing and upholding the laws of the State of Hawaii,” Brunn’s


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 alleged knowledge of Charles Gilman’s involvement in illegal

 gambling, and Brunn’s alleged statement to Gilman in November

 2004, taken together, imply that Brunn’s nonperformance of an

 official act was his allegedly deliberate failure to report

 gambling operations to the Honolulu Police Department.

             Brunn’s last argument--that Counts 4 through 8 are

 insufficient because they fail to provide a factual basis as to

 how interstate commerce is affected--has already been rejected by

 the Ninth Circuit.      In Woodruff, 50 F.3d at 676, the district

 court dismissed the indictment as insufficient when the

 indictment, which alleged Hobbs Act violations, provided no

 theory or facts explaining how interstate commerce was affected.

 The Ninth Circuit reversed: “The precise interstate nexus

 component of a Hobbs Act violation is, of course, an element . .

 . that must be proved at trial.         Our circuit has established that

 it need not, however, be expressly described in the indictment.”

 Id. at 677.    See also Carbo v. United States, 314 F.2d 718, 732-

 33 (9th Cir. 2004).

             Because the court concludes that Counts 4 through 8 of

 the Indictment are sufficient, Brunn’s motion to dismiss is

 denied.




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 V.          CONCLUSION.

             The court denies Brunn’s motion to dismiss Counts 4

 through 8 of the Indictment and his request for grand jury

 transcripts.     Terragna’s joinder is similarly denied.



             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, August 28, 2008.




                                /s/ Susan Oki Mollway
                               Susan Oki Mollway
                               United States District Judge




 United States v. Gilman, et al.; CR. No. 06-00198 SOM; ORDER DENYING DEFENDANT
 KEVIN BRUNN’S MOTION TO DISMISS COUNTS 4 THROUGH 8 OF THE SECOND SUPERSEDING
 INDICTMENT.




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